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                                                                             UNITED STATES DISTRICT COURT
                                               15                           NORTHERN DISTRICT OF CALIFORNIA
                                                                               (SAN FRANCISCO DIVISION)
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                                                    IN RE: CATHODE RAY TUBE (CRT)                           Case No. 07-5944 SC
                                               18
                                                    ANTITRUST LITIGATION                                     MDL No. 1917
                                               19
                                               20   This Document Relates to:

                                               21   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., DEFENDANTS’ JOINT NOTICE OF
                                                    Case No. 3:11-cv-05513                               MOTION AND MOTION TO EXCLUDE
                                               22                                                        CERTAIN EXPERT TESTIMONY OF
                                               23   Best Buy Co., Inc., et al. v. Technicolor SA, et PROFESSOR KENNETH ELZINGA
                                                    al., Case No. 13-cv-05264
                                               24                                                        Oral Argument Requested
                                                    CompuCom Systems, Inc. v. Hitachi, Ltd., et
                                               25   al., Case No. 3:11-cv-06396                          Date: February 20, 2015
                                               26                                                 Time: 10:00 a.m.
                                                    Costco Wholesale Corp. v. Hitachi, Ltd., et
                                               27   al., Case No. 3:11-cv-06397                   Judge: Hon. Samuel Conti

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                                                1
                                                                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                2
                                                3   I.       STATEMENT OF THE ISSUE
                                                4            Whether Professor Elzinga should be precluded from providing expert testimony in
                                                5   the form of a narrative of facts containing Professor Elzinga’s inferences and embedded legal
                                                6   conclusions because such a narrative violates the standards for expert testimony contained in
                                                7   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 583 (1997), and its progeny.
                                                8
                                                    II.      INTRODUCTION
                                                9
                                                             In an antitrust case, a qualified economist may opine on the industry conditions that
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                                                    make a specific market more or less susceptible to successful collusion. The economist may
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                                                    also assist the trier of fact as to the economic theory of cartels and how conduct can be
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                                                    assessed under that theory. An economist may not, however, narrate the plaintiffs’ evidence
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                                                    of cartel behavior for them. Yet, Professor Kenneth Elzinga, an economic expert for certain
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                                                    DAP plaintiffs, apparently intends to provide just such a narrative. Even more, Professor
                                               15
                                                    Elzinga’s proposed narrative consists of his own subjective interpretations of ambiguous
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                                                    documents and inferences regarding cartel behavior, including inferences as to the existence
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                                                    of “agreements” to restrain trade.      There is no field of science—and certainly not of
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                                                    economics—that allows an expert to sift through the evidence, analyze it, and reach
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                                                    conclusions regarding a defendant’s culpability. Professor Elzinga’s narrative does not assist
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                                                    the trier of fact and his interpretations are unreliable. This Court, in its role as gatekeeper of
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                                                    expert testimony, should prevent Professor Elzinga from providing his proposed factual
                                               22
                                                    narrative.
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                                                    III.     FACTS
                                               24
                                               25            Professor Kenneth G. Elzinga is a Professor of Economics at the University of
                                               26   Virginia. Declaration of Lucius B. Lau, dated December 5, 2014 (“Lau Decl.”), Ex. A
                                               27   (Expert Report of Professor Kenneth G. Elzinga (“Elzinga Report”), dated April 15, 2014), at
                                               28   2.
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                                                1                                      As laid out in his initial expert report, Professor Elzinga’s
                                                2   proposed testimony has several elements.
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                                                6                                                                                Professor Elzinga
                                                7   provides a narrative of how the alleged cartel operated and his view as to how each
                                                8   Defendant individually participated.
                                                9
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                                               11                                             This motion is directed to the proposed testimony
                                               12   contained in this section of Professor Elzinga’s report and a parallel section of his reply
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                                               13   expert report (described below). In making this Motion, Defendants do not concede the
                                               14   complete admissibility of the remainder of Professor Elzinga’s proposed testimony at trial.
                                               15   Defendants reserve all rights to challenge the admissibility of Professor Elzinga’s testimony
                                               16   on other, evidentiary grounds at trial.
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                                               27          Professor Elzinga provides a similar narrative in his reply expert report. See Lau
                                               28   Decl. Ex. B (Reply Expert Report of Professor Kenneth Elzinga (“Reply Report”), dated
                                                             DEFENDANTS’ JOINT MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   September 26, 2014).
                                                2
                                                3
                                                4                       Id. at 37. Professor Elzinga does not analyze the documents through the
                                                5   lens of an economist applying cartel theory, nor does he purport to. Instead, he merely
                                                6   recites and narrates the documents in an apparent attempt to bolster Plaintiffs’ factual
                                                7   presentation. Id. at 37-62.
                                                8          Professor Elzinga’s narratives improperly are riddled with the language of the law,
                                                9   subjective inferences, and his own characterizations of Defendants’ non-economic motive
                                               10   and intent. Among the improper inferences are those that usurp the role of the fact-finder.
                                               11   Professor Elzinga for example infers the formation or existence of “agreements” among
                                               12   Defendants.
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                                                3           Professor Elzinga also injects non-economic knowledge, motive and intent into the
                                                4   narrative, in many instances drawing inferences about what happened prior to, during, or
                                                5   after the event described in the document:
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                                                                                   This “intellectual filter” apparently enables Professor Elzinga
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                                                    to interpret anticompetitive intent from the mere fact that communication occurs in the
                                               17
                                                    context of a conversation between competitors.
                                               18
                                               19
                                                                                                            It also apparently enables Professor
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                                                    Elzinga to infer the existence of agreements from ambiguous evidence, as evidenced by the
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                                                    following exchange:
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                                                4           A juror is perfectly capable of understanding the facts of the case, reaching legal
                                                5   conclusions, and inferring motive and intent. An economist brings no assistance to the trier
                                                6   of fact in that regard. As described below, narratives such as those offered by Professor
                                                7   Elzinga are therefore properly excluded as improper expert testimony. In a conspiracy case,
                                                8   narratives that also offer legal conclusions, inferences, and other non-expert opinion
                                                9   regarding the operation or existence of a cartel lack any scientific basis and are therefore
                                               10   separately inadmissible on that basis.
                                               11     IV.     ARGUMENT
                                               12             A.    The Standard of Review
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                                               13     Rule 702 of the Federal Rules of Evidence provides that:
                                               14           A witness who is qualified as an expert by knowledge, skill, experience,
                                               15           training, or education may testify in the form of an opinion or otherwise if:
                                               16                  (a) the expert’s scientific, technical, or other specialized knowledge will
                                                                   help the trier of fact to understand the evidence or to determine a fact in
                                               17                  issue;
                                               18                  (b) the testimony is based on sufficient facts or data;
                                               19                  (c) the testimony is the product of reliable principles and methods; and
                                               20                  (d) the expert has reliably applied the principles and methods to the facts
                                               21                  of the case.
                                                    Rule 702(a) of the Federal Rules of Evidence permits expert testimony by a witness
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                                                    “qualified as an expert by knowledge, skill, experience, training, or education” if “the
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                                                    expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
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                                                    understand the evidence or to determine a fact in issue.”            Daubert v. Merrell Dow
                                               25
                                                    Pharmaceuticals, Inc., 509 U.S. 579, 592 n.10 (1993). The proponent of expert testimony
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                                                    has the burden of proving admissibility pursuant to Rule 702 by a preponderance of the
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                                                1   evidence. Id. (citing Bonriaily v. United States, 483 U.S. 171, 175-76 (1987)); United States
                                                2   v. 87-98 Acres of Land More or Less in Ctny. of Merced, 530 F.3d 899, 904 (9th Cir. 2008).
                                                3          A district court must act as a gatekeeper to the admissibility of expert testimony. See
                                                4   Estate of Henry Barabin v. AsterJohnson, Inc., 740 F.3d 457, 465-67 (9th Cir. 2014) (en
                                                5   banc) (remanding case for new trial because District Court’s cursory Daubert analysis was
                                                6   an abuse of discretion even if there was no substantive error in the expert testimony heard);
                                                7   see also Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011) (stating that the
                                                8   district court has a “duty” to act as a gatekeeper to exclude evidence that does not meet Rule
                                                9   702’s reliability standards).
                                               10
                                                              B.     Professor Elzinga May Not Argue the Case for Plaintiffs or
                                               11                    Usurp the Jury’s Role by Presenting Factual Narrative
                                                                     Telling the Jury How to Infer Agreement or Motive
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                                               13          Much of Professor Elzinga’s proposed testimony consists of a factual narrative of
                                               14   selected portions of documents and testimony together with Professor Elzinga’s personal
                                               15   interpretation and speculation regarding that evidence. Throughout the narrative, Professor
                                               16   Elzinga purports to tell the jury what conclusions to reach from the evidence, including as to
                                               17   whether “agreements” were reached as well as to the knowledge, motive and intent of the
                                               18   individuals described in documents. There are numerous reasons why this kind of narrative
                                               19   and testimony is not proper expert testimony.
                                               20                    1.    Factual Narratives Are To Be Presented By Lawyers In
                                                                           Closing Arguments, Not By Expert Witnesses In
                                               21                          Testimony
                                               22
                                                           An expert’s factual narrative does not assist the trier of fact within the meaning of
                                               23
                                                    Rule 702. “While an expert must of course rely on facts or data in formulating an expert
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                                                    opinion, an expert cannot be presented to the jury solely for the purpose of constructing a
                                               25
                                                    factual narrative based upon record evidence.” Highland Capital Mgmt. L.P. v. Scheider,
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                                                    379 F. Supp. 2d 461, 469 (S.D.N.Y. 2005) (citations omitted); see also Johns v. Bayer Corp.,
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                                                    No. 09-CV-1935, 2013 WL 1498965, at *28 (S.D. Cal. April 10, 2013) (citing Highland
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                                                1   Capital and excluding factual narrative). Such narratives inherently address lay matters that
                                                2   a jury can understand without the expert’s help. See Bayer, 2013 WL 149865, at *28;
                                                3   Highland Capital, 379 F. Supp. 2d at 468-69 (“To the extent that [the expert] is simply
                                                4   rehashing otherwise admissible evidence about which he has no personal knowledge such
                                                5   evidence—taken on its own—is inadmissible.”). The recitation of facts is the role of the
                                                6   lawyer, at closing argument, not an expert. Id.; Highland Capital, 379 F. Supp. 2d at 469;
                                                7   accord United States v. Lukashov, 694 F.3d 1107, 1116 (9th Cir. 2012) (holding expert
                                                8   testimony that invades the province of the jury should be excluded). The mere fact that an
                                                9   expert adds a special “gloss” or filter to the narrative does not thereby transform the narrative
                                               10   into proper expert testimony. See in re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 551
                                               11   (S.D.N.Y. 2004) (holding as inadmissible “the glosses that [the expert] interpolates into his
                                               12   narrative”).
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                                               13          Defendants do not dispute that Professor Elzinga may rely upon the documentary
                                               14   record—and even a limited chronology of events—as may be relevant to the application of
                                               15   economic theory to the facts of the case. That exercise, however, is adequately covered in
                                               16   other sections of Professor Elzinga’s Expert Report.
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                                               20                                                                    Such a narrative is the proper
                                               21   subject of closing argument, not expert testimony.
                                               22                    2.       Professor Elzinga’s Narrative Lacks a Reliable Basis
                                               23          Admissible expert testimony has a reliable basis in the “knowledge and experience of
                                               24   the relevant discipline.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999) (quoting
                                               25   Daubert, 509 U.S. at 592). There is no field of science that allows an expert to sift through
                                               26   the evidence, analyze it, and reach conclusions regarding a defendant’s culpability.          In
                                               27   antitrust, an “economist has no special skill in reading documents and relating them to actual
                                               28   behavior.” George J. Stigler, What Does an Economist Know?, 33 J. Legal Educ. 311, 311
                                                             DEFENDANTS’ JOINT MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1   (1983). An economist can assist the trier of fact by explaining the structure of the industry
                                                2   and the alleged conduct from the perspective of cartel theory and economics. See, e.g., U.S.
                                                3   Info Sys. Inc. v. Int’l Bro. of Elec. Workers Local Union No. 3, 313 F. Supp. 2d 213, 239-40
                                                4   (S.D.N.Y. 2004) (distinguishing admissible testimony in which an expert identifies factors
                                                5   that would tend to prove the existence of a conspiracy from inadmissible testimony
                                                6   concluding the existence of a conspiracy); Ohio v. Louis Trauth Dairy, Inc., 925 F. Supp.
                                                7   1247, 1253-54 (S.D. Ohio 1996) (allowing testimony regarding factors that facilitate
                                                8   collusion); In re Polyproplyene Carpet Antitrust Litig., 93 F. Supp. 2d 1348, 1354-55 (N.D.
                                                9   Ga. 2000) (allowing expert testimony on “climate” of the alleged price-fixed market). It
                                               10   remains for the trier of fact to ultimately draw conclusions of conspiracy from that and other
                                               11   evidence.
                                               12          In the 2013 Urethane case, Professor Elzinga himself decried the practice of inferring
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                                               13   conspiracy from the factual record as the work of a “conspiracy-ologist” and not an
                                               14   economist. See Lau Decl. Ex. E (Testimony of K. Elzinga, In re: Urethane Antitrust Litig.,
                                               15   No. 04-1616 (Dkt # 2871), at Tr. 4521:14-4524:14. Specifically, he explained that:
                                               16          As an economist there’s nothing in my graduate training, there’s nothing in the
                                                           research I do as an antitrust economist that gives me an advantage or special
                                               17
                                                           insight into learning about a conversation that might have taken place when
                                               18          people played golf or when they were at lunch with one another. That type of
                                                           evidence to me is not economics evidence, it’s not what economists work with.
                                               19
                                               20
                                                    Id. at 4524:2-10. Yet here, in this CRT case, Professor Elzinga engages in exactly the
                                               21
                                                    conduct which he previously condemned. He sifts through the evidence, purports to find
                                               22
                                                    evidence of each Defendant’s participation in the alleged cartel, and draws subjective
                                               23
                                                    inferences regarding their individual participation in that alleged conspiracy. Moreover,
                                               24
                                                    contrary to his Urethane testimony, he seems to claim to have a special training or
                                               25
                                                    “intellectual filter” that provides him with special insight into conversations among
                                               26
                                                    competitors for this purpose.
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                                                2                        In the 2013 Urethane trial Professor Elzinga decried the making of non-
                                                3   economic inferences as “conspiracy-ology.” Lau Decl. Ex. E at 4521:14-4524:15.
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                                               10           Whatever name they are given, Professor Elzinga’s conclusions and inferences
                                               11   regarding the existence of a conspiracy have no basis in the field of economics and no basis
                                               12   to be offered in this case.
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                                               13                     3. Professor Elzinga’s Narrative Includes Embedded
                                                                         Conclusions He Is Not Qualified to Make
                                               14
                                               15           Professor Elzinga’s narrative is separately inadmissible because of its content.
                                               16
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                                               18              It goes without saying that Professor Elzinga lacks any personal knowledge or
                                               19   expertise either of the conduct as alleged, as documented, or of the litigation discovery
                                               20   process. His opinion on what should exist is speculative and inadmissible. See Tietsworth v.
                                               21   Sears, Roebuck & Co., 5:09-cv-00288, 2012 WL 1595112, at *4, *8 (N.D. Cal. May 4, 2012)
                                               22   (excluding speculative expert testimony that complaints regarding washing machine repair
                                               23   were likely under-reported). Separately, Professor Elzinga’s narrative contains embedded
                                               24   legal conclusions and inferred motive both of which are well-recognized as inappropriate for
                                               25   expert testimony.
                                               26                         a.      Professor Elzinga Has Not Basis to Infer “Agreements”
                                               27           Expert evidence is not inadmissible merely because it embraces an ultimate issue to
                                               28   be decided by the trier of fact. FRE 704(a). However, when an economist draws inferences
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                                                1   from the record and presents them “in legal rather than economic terms,” the testimony must
                                                2   be excluded. See Mid-State Fertilizer Co. v. Exch. Nat’l Bank of Chicago, 877 F.2d 1333,
                                                3   1340 (7th Cir. 1989). Expert testimony simply cannot be used to provide legal meaning or
                                                4   interpretation. See McHugh v. United Serv. Auto Ass’n, 164 F.3d 451, 454 (9th Cir. 1999)
                                                5   (refusing to consider validity of expert testimony and inferences regarding the meaning of a
                                                6   contract); Crow Tribe of Indians v. Racicot, 87 F.3d 1039, 1045 (9th Cir.1992) (stating that
                                                7   expert testimony is not proper for issues of law because the role of experts is to interpret and
                                                8   analyze factual evidence and not to testify about the law); Aguilar v. Int'l Longshoremen's
                                                9   Union Local No. 10, 966 F.2d 443, 447 (9th Cir.1992) (same). Here, the existence of
                                               10   “agreements” does not just “touch upon” or “embrace” a legal conclusion.                  Whether
                                               11   Defendants formed agreements in restraint of trade is the first legal conclusion the jury will
                                               12   be asked to determine. See American Bar Association, Model Jury Instructions in Civil
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                                               13   Antitrust Cases, B-20 (2005) (“To prevail against a Defendant on a price-fixing claim, the
                                               14   Plaintiffs must prove as to that particular Defendant each of the following elements by a
                                               15   preponderance of the evidence: First, that an agreement to fix the price of [] existed . . . .”).
                                               16          To the extent there did exist an expert who could properly testify as to the existence
                                               17   of “agreements,” it would not be an economist such as Professor Elzinga. The field of
                                               18   economics contains no concept of “agreement.” In other words: “the discipline of economics
                                               19   ha[s] no competence to determine whether parallel behavior among independent actors
                                               20   amount[s] to a legal ‘agreement’” principally because “economists typically don’t care
                                               21   whether firms have ‘agreed’ in the legal sense of the term.” Herbert Hovenkamp, Economic
                                               22   Experts in Antitrust Cases, in Modern Scientific Evidence § 38-2.0, at 179 (David L.
                                               23   Faigman et al. eds, 1999); see also id. § 38-3.3, at 193 (noting that fact inferences of
                                               24   agreement by an economist are unwarranted). Courts agree that, although an economist may
                                               25   offer opinions about economic conditions and incentives regarding conspiracy, an economist
                                               26   may not appropriately offer the conclusion that an illegal conspiracy or agreement actually
                                               27   existed. See, e.g., U.S. Info Sys., 313 F. Supp. 2d at 239-40 (S.D.N.Y. 2004) (citing cases);
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                                                1   Holiday Wholesale Grocery Co. v. Philip Morris, Inc., 231 F. Supp. 2d 1253, 1322 (W.D.
                                                2   Ga. 2002) (excluding testimony describing the existence of a “loose cartel”).
                                                3          Professor Elzinga notably does not purport to apply any scientific methodology to his
                                                4   determinations of “agreement.” The only validity to Professor Elzinga’s “intellectual filter”
                                                5   and his interpretation of evidence is the ipse dixit validity that Professor Elzinga himself
                                                6   attributes to this aspect of his work. Although the focus of the Daubert inquiry is “on [the]
                                                7   principles and methodology, not on the conclusions that they generate,” Daubert, 509 U.S. at
                                                8   595, it is equally true that “conclusions and methodology are not entirely distinct from one
                                                9   another,” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). “[N]othing in either Daubert
                                               10   or the Federal Rules of Evidence requires a district court to admit opinion evidence that is
                                               11   connected to existing data only by the ipse dixit of the expert.” Joiner, 522 U.S. at 146
                                               12   (citations omitted). As such, “bald assurances of validity” of the type Professor Elzinga
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                                               13   attaches to his intellectual filter simply do not suffice for Daubert. See United States v. Saya,
                                               14   961 F. Supp. 1395, 1397 (D. Haw. 1996) (quoting Daubert v. Merrell Dow Pharm. 43 F.3d
                                               15   1311, 1315 (9th Cir. 1995)); see also Mesfun v. Hagos, No. 03-2182, 2005 WL 5956612, at
                                               16   *11 (C.D. Cal. Feb. 16, 2005) (holding inadmissible expert testimony that is “nothing more
                                               17   than personal opinions and assumptions regarding the facts of the case”).
                                               18          That Professor Elzinga may disclaim offering a legal definition of “agreement” is of
                                               19   no moment. “Even if a jury were not misled into adopting outright a legal conclusion
                                               20   proffered by an expert witness, the testimony would remain objectionable by communicating
                                               21   a legal standard–explicit or implicit–to the jury . . . .” Hygh v. Jacobs, 961 F.2d 359, 363 (2d
                                               22   Cir. 1992). The risk that a jury, confronted with a credentialed expert, would be confused or
                                               23   give undue deference to the expert’s implicit characterization of the evidence is simply too
                                               24   great. Id.; see, e.g., United States v. Saya, 961 F. Supp. 1395, 1397 (D. Haw. 1996); U.S.
                                               25   Info. Sys., 313 F. Supp. 2d at 239-241 (holding that an expert’s use of “embedded legal
                                               26   conclusions” in a fact narrative is inadmissible).
                                               27                        b.        No Expert May Properly Opine on A Defendant’s Motive
                                                                                   and Intent
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                                                1          An expert may not offer opinions regarding a defendant’s intent, motive or state of
                                                2   mind. See S.E.C. v. Life Wealth Mgmt., Inc., No. 10-4769, 2013 WL 1660860, at 8* (C.D.
                                                3   Cal. Apr. 17, 2013) (holding “it is improper for [an expert] to assert conclusions about [the
                                                4   defendants’] motive, intent or state of mind”); Highland Capital, 379 F. Supp. 2d at 469
                                                5   (excluding expert testimony regarding state of mind and motivations as “consist[ing] simply
                                                6   of inferences that [the expert] draws from other evidence in the case”). “Expert testimony is
                                                7   not relevant if the expert is offering a personal evaluation of the testimony and credibility of
                                                8   others or of the motivations of the parties.” U.S. Info. Sys., 313 F. Supp. 2d at 226.
                                                9   Professor Elzinga does not and could not know what was “clear,” “recognized,” or otherwise
                                               10   known to Defendants. His proposed testimony however is replete with these
                                               11   characterizations. Professor Elzinga’s speculations about knowledge, motive and intent are
                                               12   simply inadmissible.
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                                               13            C.     Cross-Examination Is Not a Sufficient Remedy
                                               14          Any suggestion that cross-examination is a sufficient antidote for this prejudicial
                                               15   testimony would be mistaken. Cross-examination is an inadequate remedy where, as here,
                                               16   the proposed testimony is prejudicial and/or unreliable at its core. See, e.g., United States v.
                                               17   Hebshie, 754 F. Supp. 2d 89, 113 (D. Mass 2010) (“Cross-examination suffices only when
                                               18   experts have reached different conclusions, but the underlying approach is sound. Where it is
                                               19   not, exclusion, or in some situations, limitation, is the only option.”); Reed v. City of Chi.,
                                               20   No. 01-C-7865, 2006 WL 1543928, at *3 (N.D. Ill. June 1, 2006) (“while it is true that
                                               21   ‘[v]igorous cross-examination, presentation of contrary evidence, and careful instruction on
                                               22   the burden of proof are the traditional and appropriate means of attacking shaky but
                                               23   admissible evidence,’ such safeguards are not a basis for admitting otherwise inadmissible
                                               24   evidence”) (quoting Daubert, 509 U.S. at 596).
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                                                1
                                                2   V.      CONCLUSION
                                                3           For these reasons, the Court should grant Defendants’ Motion and preclude Professor
                                                4   Elzinga from presenting a narrative at trial, inferences about the existence of “agreements,”
                                                5   and inferences about Defendants’ motive and intent.
                                                6
                                                7                                                   Respectfully submitted,
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                                                                                                    (With respect to all of the above-captioned
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                                                                                                    cases except for Dell Inc., et al. v. Hitachi,
                                               23                                                   Ltd., et al., No. 13-cv-0271)
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                                                                                        Ltd., et al., No. 13-cv-0271, and Costco
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                                                                                 PROFESSOR ELZINGA
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                                                                                        Technicolor SA, et al.
                                                        DEFENDANTS’ JOINT MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
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                                                1                                  CERTIFICATE OF SERVICE
                                                2          On December 5, 2014, I caused a copy of the Defendants’ Joint Notice of Motion and
                                                3   Motion to Exclude Certain Expert Testimony of Professor Kenneth Elzinga to be
                                                4   electronically filed via the Court’s Electronic Case Filing System, which constitutes service in
                                                5   this action pursuant to the Court’s order of September 29, 2008.
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